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UNffED STATES DISTRICT COURT
S04 THERN DISTRICT OF NEW YORK
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 UN~TED STATES OF AMERICA
                                                                         Affirmation in Support of
                           V.                                Application for Order of Continuance

 Jot o CORCINO,                                                                     19 Mag. 9405

                                    Defendant.
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Stat~ ofNew York                                    )
Cou1rty of New York                                 : ss.:
Southern District ofNew York                        )

         Daniel G. Nessim, pursuant to Title 28, United States Code, Section 1746, hereby declares

unde[I penalty of perjury:

         1. I am an Assistant United States Attorney in the Office of Geoffrey Berman, United States

Atto ey for the Southern District of New York. I submit this affirmation in support of an
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application for an order of continuance of the time within which an indictment or information

wouia otherwise have to be filed, pursuant to 18 U.S.C. §3161(h)(7)(A).

         2. The defendant was arrested on or about October 7, 2019, and he was charged in a

com~laint dated October 8, 2019, with violations of Title 21, United States Code, Section 846, the

defehdant was presented in this district before Magistrate Judge Ona T. Wang. The defendant was

reprL ented by Patrick Joyce, Esq., and bail conditions were set.

         3. Under the Speedy Trial Act the Government initially had until November 7, 2019, within

whi<i:h to file an indictment or information.

     I   4. Defense counsel and I have had discussions regarding a possible disposition of this case,

as rrcently as November 6, 2019. The negotiations have not been completed and we plan to
continue our discussions, but do not anticipate a resolution before the deadline under the Speedy

Trial Act expires on November 7, 2019.

         5. Therefore, the Government is requesting a 30-day continuance until December 7, 2019,

to continue the foregoing discussions and reach a disposition of this matter. On November 6, 2019,

I p9rsonally spoke to and assistant to defense counsel who relayed that defense counsel specifically

consented to this request.

   I     6. For the reasons stated above, the ends of justice served by the granting of the requested

continuance outweigh the best interests of the public and defendant in a speedy trial.

Dated:          New York, New York
                November 6, 2019



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                                               Daniel G. N essim
                                               Assistant United States Attorney
                                               (212) 637-2486




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